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                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF MISSISSIPPI
                                 GREENVILLE DIVISION

BRENDA J. COOPER, ET AL.                                                    PLAINTIFFS

versus                                                Civil Action No. 4:16cv52-DMB-JMV

MERITOR, INC., ET AL.                                                       DEFENDANTS


             PLAINTIFFS’ SUPPLEMENTAL MEMORANDUM IN SUPPORT
                 OF MOTION FOR PARTIAL SUMMARY JUDGMENT
                           ON AFFIRMATIVE DEFENSE
                 OF APPORTIONMENT OF FAULT TO NON-PARTIES

         COME NOW Plaintiffs in the above-styled and numbered action and file this Supplemental

Memorandum in support of their Motion for Partial Summary Judgment [Doc. 546] on the

Affirmative Defenses plead by Defendants Meritor, Inc.; Rockwell Automation, Inc.; The Boeing

Company; and Textron, Inc. which seek an Apportionment of Fault to persons or entities not

joined in this action (“Non-Parties”).

                                           Introduction

         In the Court’s June 4, 2018 Order [Doc. 732], which denied Plaintiffs’ motion for a

continuance of the briefing period, the Court observed that Plaintiffs may move to supplement

their briefing to the extent that supplementation is warranted by documents received from T&M

Associates after the dispositive motion deadline, pursuant to Plaintiffs’ motion to compel such

production. Now, having had the opportunity to review the compelled documents, Plaintiffs file

this Supplemental Memorandum to address the facts contained therein, and reasonable inferences

arising therefrom, which implicate the issue of apportionment of fault.
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       Defendants’ Miss. Code Ann. § 85-5-7 defense seeks to apportion fault for the

contamination in the Eastern Heights neighborhood to non-parties and places the “origin” of such

contamination squarely in issue. The compelled documents demonstrate that the Defendants

conducted Compound Specific Isotope Analysis (“CSIA”), also known as “chemical

fingerprinting,” to determine the origin of the contamination in the Eastern Heights neighborhood,

i.e., whether the neighborhood contamination is attributable to Rockwell International

Corporation (“Rockwell”) or operation of the Grenada Manufacturing facility. However, under a

claim of “consultant privilege” pursuant to Fed.R.Civ.P. 26(b)(4)(D), the Defendants have refused

to produce the results of CSIA testing in this action and have, allegedly, withheld such test results

from expert(s) who Defendants offer to testify that non-parties are allegedly responsible for

contamination of the Eastern Heights neighborhood.

       Rest assured, if the CSIA test results had been favorable to the Defendants’ section 85-5-7

defense, then the Defendants would have produced the CSIA results, and their experts would be

testifying about those results. Hence, the Court may draw a reasonable inference that the

Defendants cannot chemically distinguish the contamination in Eastern Heights from

contamination sources which are attributable to the Defendants. And, at a minimum, Defendants’

alleged withholding of the CSIA test results from its testifying expert(s) undercuts the validity of

the expert-based conclusions on which the Defendants rely for their section 85-5-7 defense, since

Defendants possess no factual information establishing that any non-party caused or contributed

to contamination in the Eastern Heights neighborhood.1


       1
          See, Ex. “1,” page 96 of Transcript, Feb. 1, 2018 hearing on Plaintiffs’ motion to
compel (recognition by U.S. Magistrate Judge Jane N. Virden that James Peeples, who expresses
“origin” opinions, may be cross-examined on the alleged fact that he has not reviewed CSIA test

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                                          What is CSIA?

        Compound Specific Isotope Analysis is an analytical method by which the ratio of stable

isotopes contained in dissolved organic contaminants, such as chlorinated solvents, may be

measured. Ex. “2,” EPA, A Guide for Assessing Biodegradation and Source Identification of

Organic Ground Water Contaminants using Compound Specific Isotope Analysis, Dec. 2008, p.

xi. Chemical spills may have isotopic “signatures” that can be used to associate a plume of

contamination in ground water with a particular spill. Id. That is, CSIA may be used “to

associate plumes of contaminants in ground water with their sources.” Id.

        “CSIA has been used successfully at a variety of sites to distinguish between contaminant

releases which occurred at different times and places at complex spill sites. This knowledge can

be used to identify the parties that were responsible for the contamination, and CSIA has been

accepted as one line of evidence in litigation.” Id. at 2 (citations omitted). Thus, “[i]sotope

analysis is especially useful when there are multiple sources of the same ground water

contaminants.” Id. at 41.

                            Facts Supplementing Plaintiffs’ Motion

        At the February 1, 2018 motion to compel hearing in this matter, Meritor’s counsel

attempted to minimize the role of James Peeples and T&M Associates in the CSIA work, likening

T&M Associates to a vendor which only drew groundwater samples. Ex. “1,” Transcript Feb. 1,

2018, p. 90, 100 (on-the-record representations by Meritor counsel Timothy J. Coughlin that

T&M Associates merely “stuck a straw in a can of soda pop and pulled it out ... [t]hat’s all they




results).

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did.”). This mischaracterized, if not misrepresented, the level of involvement of T&M Associates

and James Peeples in the CSIA work.

       It appears that Mr. Peeples, not some consulting expert, originated the idea for CSIA

testing as a means to compare the plumes in and outside of the Eastern Heights neighborhood.

Mr. Peeples’ handwritten note of May 16, 2017 states “[a]sk about CSIA for the EH vs Z04

plume.” Ex. “3,” Peeples’ note May 16, 2017 (T&M-ESI-1001517).

       After that date, CSIA testing remained a topic of interest for the Defendants, as evidenced

by Mr. Peeples’ notes of a June 16, 2017 meeting at the Thompson Hine law firm with Ramjit

Machado,2 Laurie LaPat,3 and attorneys or representatives for the Defendants. Mr. Peeples’ June

16, 2017 note mentions “isotope ratio,” questions whether “the residential plume [is] significantly

different than the facility plume,” and resolves to “[l]ook for locations to discuss [with] Lori

[sic].” Ex. “4,” Peeples’ note June 16, 2017 (T&M-ESI-1001533).

       Probably due to the impending expert designation deadline, CSIA activities proceeded at a

brisk pace after June 16, 2017. On June 27, 2017, Mr. Peeples received a table of wells which

Ms. LaPat proposed be sampled for CSIA analysis as well as the “sampling protocol for collection

and shipping of the groundwater samples for CSIA analyses.”. Ex. “5,” Email June 27, 2017

(T&M-ESI-1076466); Ex. “6,” Email June 27, 2017 (T&M-ESI-1076469). Late on June 27,



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          Ramjit Machado, an employee of Ramboll Environ, is designated as a testifying expert
on behalf of the Defendants in this action.
       3
          Laurie LaPat, who is also an employee of Ramboll Environ, is the alleged consulting
expert retained by Defendants in this matter who received the results of the CSIA testing.
Defendants have not designated Ms. LaPat to testify in this matter, even though they retained her
firm Ramboll Environ and her co-employee Ramjit Machado for testimonial purposes. Ex. “1,”
Transcript, p. 91.

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2017 Mr. Peeples received word that “Meritor has approved the CSIA sampling as proposed,”

accompanied by expressions of gratitude from the lawyers at Thompson Hine for his efforts in

connection with the CSIA testing. Ex. “7,” Email June 27, 2017 (T&M-ESI-1076481) (“Thank

you for all your efforts, Jim.”); Ex. “8,” Email June 28, 2017 (T&M-ESI-1076484) (“Jim -

beyond a huge thanks for managing this fire drill. We are all very grateful.”).

         Further, Mr. Peeples’ communications make it clear that T&M Associates billed for the

CSIA work which T&M handled directly without involving any subcontractors. Ex. “9,” Email

June 28, 2017 (T&M-ESI-1076490) (“The approval noted below by Joel was for $24,000 for the

sampling effort that the group will be completing tomorrow. We do not have any subs other than

equipment ... The laboratory is run through Ramboll ... let’s just go ahead and set up a task for

this if that is feasible ...”).

         Participants in the CSIA sampling included T&M Associates’ employees Scott Blanchard,

Becky Chavez, and Cindy Jacobsen; and Tamara House-Knight, an employee of Ramboll Environ.

Ex. “10,” Email June 28, 2017 (T&M-ESI-1076491). That sampling was conducted at wells in

and outside the Eastern Heights neighborhood on June 29, 2017. Ex. “11,” Groundwater

Sampling Field Data log (T&M-ESI-1076594 to 1076609); Ex. “12,” Chain of Custody Record

(T&M-ESI-1076634). T&M Associates promptly shipped the groundwater samples collected at

the Grenada site via federal express to a laboratory located at the University of Oklahoma. Ex.

“13,” Email July 21, 2017 (T&M-ESI-1076622).

         On July 7, 2017, Laurie LaPat provided Mr. Peeples with a spreadsheet detailing “Wells

Sampled for Compound Specific Isotope Analyses.” Ex. “14,” Email and Spreadsheet, July 7,




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2017 (T&M-ESI-1076562). As indicated on the spreadsheet, sixteen (16) wells having the

following location descriptions were sampled for CSIA analyses:

       “Plume Location Areas”                               Number of Wells

       “Facility Source”                                    2

       “Facility Downgradient of Source”                    1

       “Further Downgradiant of Facility”                   1

       “Residential”                                        4

       “Northern Upgradient”                                4

       “East Moose Lodge Road Area”                         2

       “Buffing Compound Disposal Area”                     2

Ex. “14,” Email and Spreadsheet, July 7, 2017.

       Remarkably, despite the significant involvement of James Peeples and T&M Associates in

postulating CSIA testing and conducting CSIA sampling, Mr. Peeples contends that he has not

been provided any data or analysis relating to such testing. Doc. 498-3, Affidavit of James

Peeples. Yet, Mr. Peeples does not hesitate to express an opinion that contamination in the

Eastern Heights neighborhood is attributable to a source other than Rockwell or the Grenada

Manufacturing facility.

                                            Conclusion

       Plaintiffs respectfully submit that their Motion for Partial Summary Judgment on the issue

of apportionment of fault to non-parties should be supplemented with the facts presented in this

Supplemental Memorandum, and all reasonable inferences which may arise therefrom.

       DATED this the 15th day of June, 2018.


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                                          Respectfully submitted by,

                                          /s/ William Liston

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                                 CERTIFICATE OF SERVICE

         This is to certify that I, William Liston, served a true and correct copy of the above and

foregoing document on all counsel of record by transmitting the same via electronic mail and/or

by filing the same with the ECF system established by the Court, which sent a copy of the same to

all counsel of record.

         This the 15th day of June,, 2018.

                                                      /s/ William Liston
                                                      William Liston




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